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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION
      County of Angelina v. Purdue Pharma L.P., et al.,                 )
            S.D. Texas, C.A. No. 4:18-04707                             )               MDL No. 2804


             ORDER VACATING CONDITIONAL TRANSFER ORDER
         AND VACATING THE MARCH 28, 2019, HEARING SESSION ORDER


        A conditional transfer order was filed in this action (Angelina County) on January 4, 2019.
Prior to expiration of that order's 7-day stay of transmittal, plaintiff filed a notice of opposition to
the proposed transfer. Plaintiff later filed a motion and brief to vacate the conditional transfer order.
The Panel has now been advised that Angelina County has been remanded to the 152nd Judicial
District Court of Harris County, State of Texas, by the Honorable Vanessa D. Gilmore in an order
filed on February 21, 2019.

     IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-74” filed on January 4, 2019, is VACATED insofar as it relates to this action.

       IT IS FURTHER ORDERED that the Hearing Session Order and the attached Schedule filed
on February 13, 2019, are VACATED insofar as they relate to this action.


                                                        FOR THE PANEL



                                                        Jeffery N. Lüthi
                                                        Clerk of the Panel
